                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
                                              )
v.                                            )      Case No. 09-00156-07-CR-W-DW
                                              )
ROGER WILLIAM WEBB,                           )
                                              )
               Defendant.                     )

                             REPORT AND RECOMMENDATION

       On May 19, 2009, the Grand Jury returned a nine count indictment defendant Roger Webb

and eight other individuals. Defendant is charged with conspiracy to manufacture and distribute a

substance containing a detectable amount of methamphetamine in an amount of 500 grams or more

(Count I) and conspiracy to possess a listed chemical, pseudoephedrine, with the intent to

manufacture or having reasonable cause to believe that the listed chemical would be used to

manufacture a controlled substance. (Count II).

       On January 13, 2010, counsel for the defendant filed a motion pursuant to 18 U.S.C. § 4241

asking for a determination of defendant’s mental competency. (Doc. # 186) The Court committed

the defendant to the custody of the Attorney General for placement in a suitable facility to undergo

the requested examination. (Doc. # 187)

        A hearing was held on June 8, 2010, on the defendant’s motion to determine mental

competency. Defendant appeared with counsel Kenton Hall. The government was represented by

Bruce Rhoades. The only evidence presented at the hearing was the report prepared by Dr. David

Morrow of the Federal Detention Center at Englewood, Colorado. Based upon the testing and

evaluations described in the report Dr. Morrow concluded that “Mr. Webb is currently suffering

from a mental disease or defect rendering him unable to understand the nature and consequences of

the proceedings against him or properly assist in his defense.” (Report at 10). In accordance with



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the evidence presented at the hearing, it is

          RECOMMENDED that the Court, after making an independent review of the record and

applicable law, enter an order finding that defendant Roger William Webb is incompetent in that he

is presently suffering from a mental disease or defect rendering him unable to unable to understand

the nature and consequences of the proceedings against him or properly assist in his defense. It is

further

          RECOMMENDED that the Court commit defendant Webb to the custody of the Attorney

General pursuant to 18 U.S.C. §4241(d)(1). The Attorney General shall hospitalize the defendant

for treatment in a suitable facility for such a reasonable period of time, not to exceed four months,

as is necessary to determine whether there is a substantial probability that in the foreseeable future

defendant Webb will attain the capacity to permit the trial to proceed.

          Counsel are reminded they have ten days from the date of receipt of a copy of this Report

and Recommendation within which to file and serve objections to same. A failure to file and serve

objections by this date shall bar an attack on appeal of the factual findings in this Report and

Recommendation which are accepted or adopted by the district judge, except on the grounds of plain

error or manifest injustice.



                                                                 /s/ Sarah W. Hays
                                                               SARAH W. HAYS
                                                      UNITED STATES MAGISTRATE JUDGE




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